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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION


EUGENIA II INVESTMENT HOLDINGS LIMITED (BVI),

         Plaintiff,

v.                                                                        NO. 2:20-cv-00843

ANTHONY BELISLE,

         Defendant.


         RULE 7.1 AND LOCAL RULE 3.03 DISCLOSURE STATEMENT

Filed by: 1 Justin J. Wolosz


Each person—including each lawyer, association, firm, partnership, corporation,
limited liability company, subsidiary, conglomerate, affiliate, member, and other
identifiable and related legal entity—that has or might have an interest in the
outcome:

Mr. Belisle discloses that Markel CATCo Investment Management Ltd. (“MCIM”),
Mr. Belisle’s employer during the period at issue in this litigation, has obligations to
Mr. Belisle, including potential indemnity. MCIM is an indirect, wholly-owned
subsidiary of Markel Corporation, a publicly-traded company.

Each entity with publicly traded shares or debt potentially affected by the outcome:

See above.

Each additional entity likely to actively participate, including in a bankruptcy
proceeding the debtor and each member of the creditor’s committee:

None.


1
    When filing via CM/ECF, use the “Certificate of interested persons and corporate disclosure
    statement” event under Civil Events-Other Filings-Other Documents.
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Each person arguably eligible for restitution:

None.

If filed by a nongovernmental corporate party, then identify any parent corporation
and any publicly held corporation owning 10% or more of its stock or state there is
no such corporation:

Not applicable.

I certify that, except as disclosed, I am unaware of an actual or potential conflict of
interest affecting the district judge or the magistrate judge in this action, and I will
immediately notify the judge in writing within fourteen days after I know of a
conflict.

/s/ Justin J. Wolosz
______________________________________

2/5/2021




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